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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA

HINDOLUI KENNIE,              :             CIVIL ACTION
                              :             NO. 19-1351
          Petitioner,         :
     v.                       :
                              :
WARDEN OF GEORGE HILL         :
CORRECTIONAL FACILITY, et al.,:
                              :
          Respondents.        :


                                    ORDER

            AND NOW, this 20th day of October, 2020, upon

consideration of Hindolui Kennie’s Petition for Writ of Habeas

Corpus (ECF No. 1), the Respondents’ response in opposition (ECF

No. 14), and the Report and Recommendation of U.S. Magistrate

Judge Carol Sandra Moore Wells (ECF No. 18), it is hereby

ORDERED that:

            1. The Report and Recommendation is APPROVED and

               ADOPTED; 1

            2. The Petition for a Writ of Habeas Corpus is

               DISMISSED AS MOOT, without an evidentiary hearing; 2

               and


1     Petitioner was released from prison in February 2020, and he has not
received a copy of the Report and Recommendation. However, it is the
Petitioner’s job to inform the court of any address change, and he has not
done so since his release in February. Consequently, there is no way for the
court to mail him a copy of the Report and Recommendation.
2     Petitioner claims to challenge his November 2017 conviction on 2016
charges related to terroristic threats. However, none of his claims actually
concern the legality of that conviction. Instead, Petitioner complains about
the amount of bail imposed for his 2018 charges, the delay in his final
probation revocation hearing for his 2016 charges, and the validity of the
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            3. Petitioner has neither shown denial of a federal

               constitutional right, nor established that

               reasonable jurists would disagree with this court’s

               procedural disposition of his claims. Consequently,

               a certificate of appealability is DENIED.

            AND IT IS SO ORDERED.



                              _/s/ Eduardo C. Robreno__________
                              EDUARDO C. ROBRENO, J.




probation violation detainer concerning his 2016 charges. These claims were
already found to be moot in Civil Action No. 19-733 because Petitioner has
already been convicted on the 2018 charges, had his final probation
revocation hearing for the 2016 charges, and the detainer for the 2016
charges has expired. Consequently, this court cannot provide Petitioner any
relief and his claims are moot.
